
105 U.S. 263 (____)
UNITED STATES
v.
RAILROAD COMPANY.
Supreme Court of United States.

*264 The Solicitor-General for the United States.
Mr. Samuel Shellabarger and Mr. Jeremiah M. Wilson, contra.
MR. CHIEF JUSTICE WAITE, after stating the case, delivered the opinion of the court.
Under the decision in Hecht v. Boughton (supra, p. 235), the case should have been brought here by appeal, and not by writ of error. There was no trial by a jury. But there is still another objection to our jurisdiction. Under sects. 702 and 1909 of the Revised Statutes, writs of error and appeals from the final judgments and decrees of the Supreme Court of Wyoming lie to this court only when the amount in controversy exceeds $1,000, or the judgment is on a writ of habeas corpus, involving a question of personal freedom. No exception is made in favor of the United States, and this is not an action brought for the enforcement of any revenue law. Consequently the United States are not entitled to a writ of error or appeal if the same remedy would not be afforded under similar circumstances to a private party. United States v. Thompson, 93 U.S. 586. The value of the matter in dispute is the amount of the judgment that has been recovered. This is less than $1,000. It follows that we have no jurisdiction, and the writ is
Dismissed.
